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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF LOUISIANA
                                     MONROE DIVISION


    STATE OF LOUISIANA,               STATE      OF
    MISSOURI, et al.,

            Plaintiffs,

    v.                                                          No. 3:22-cv-01213-TAD-KDM

    JOSEPH R. BIDEN, JR.,
    in his official capacity as President of the
    United States, et al.,

            Defendants.



                 PLAINTIFFS’ CONSENT MOTION TO SEAL AND REPLACE
                      FILED EXHIBITS WITH REDACTED EXHIBITS

          Pursuant to the Local Rules of the U.S. District Court for the Western District of Louisiana,

   Plaintiffs respectfully request that the Court seal Exhibits G, H, K, S, T, U, V, W, and FF of Exhibit

   2 to Plaintiffs’ Supplemental Brief, Docs. 212-11, 212-12, 212-15, 212-23, 212-24, 212-25, 212-

   26, 212-27, and 212-36, as well as the equivalent documents at Docs. 214-9, 214-10, 214-13, 214-

   21, 214-22, 214-23, 214-24, 214-25, and 214-34, and replace them with the redacted versions

   attached to this motion as Exhibits 1 through 9. Unredacted versions of these documents

   containing work email addresses were inadvertently filed, and the attached versions are redacted

   to conceal work email addresses, consistent with the Court’s protective order, Doc. 117.

   Defendants consent to the relief requested in this motion.




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    Dated: March 7, 2023                            Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on March 7, 2023, I caused a true and correct copy of the foregoing

   to be filed by the Court’s electronic filing system, to be served by operation of the Court’s

   electronic filing system on counsel for all parties who have entered in the case.

                                                        /s/ D. John Sauer




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